

Matter of Holthus (2022 NY Slip Op 00242)





Matter of Holthus


2022 NY Slip Op 00242


Decided on January 13, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:January 13, 2022

PM-12-22
[*1]In the Matter of Gary N. Holthus, an Attorney. (Attorney Registration No. 2019354.)

Calendar Date:January 10, 2022

Before:Egan Jr., J.P., Lynch, Aarons, Pritzker and Reynolds Fitzgerald, JJ.

Gary N. Holthus, Gainesville, Florida, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Gary N. Holthus was admitted to practice by this Court in 1985 and lists a business address in Gainesville, Florida with the Office of Court Administration. Holthus now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Holthus' application.
Upon reading Holthus' affidavit sworn to November 24, 2021 and filed November 30, 2021, and upon reading the January 4, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Holthus is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Lynch, Aarons, Pritzker and Reynolds Fitzgerald, JJ., concur.
ORDERED that Gary N. Holthus' application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Gary N. Holthus' name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Gary N. Holthus is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Holthus is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Gary N. Holthus shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








